                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION-DETROIT

In Re:
                                                        Case No. 24-41956-mar
  BRANDON HEITMANN,                                     Chapter 13
                                                        Hon. Mark A. Randon - Detroit
         Debtor
                                                    /

             PROPOSED ORDER GRANTING MOTION FOR RELIEF
  FROM THE AUTOMATIC STAY AND TO WAIVE FOURTEEN-DAY STAY PURSUANT TO
                            RULE 4001(A)(3)

       The Court finding that a Motion for Relief from the Automatic Stay has been filed by Movant,
Fifth Third Bank, N.A.; and the Court provides for entry of an Order if a response has not been filed within
14 days after service of the Motion on the parties; and the Court finding that no response has been filed
within 14 days, and the Court having noted that Movant has complied with applicable provisions of
L.B.R. 9014-1(b)(4), and the Court having determined that continuation of the automatic stay against
Movant would deny it the adequate protection afforded to it on its security interest pursuant to 11 U.S.C.
Section 361;
        IT IS HEREBY ORDERED that the Motion for Relief from the Automatic Stay as to
Fifth Third Bank, N.A., is hereby granted and that the Automatic stay is hereby terminated as to Movant
as to the collateral described as a 2017 Audi A7, VIN# WUAWABFCXHN903083 to allow the Creditor
to commence or continue its federal and or its states court remedies as to the collateral. Any surplus
remaining after the sale of the collateral shall be turned over to the Trustee.
        IT IS FURTHER ORDERED that this Order shall remain valid notwithstanding conversion of
this case to any other chapter under the Bankruptcy Code.
       IT IS FURTHER ORDERED that this Court shall retain jurisdiction over all matters relating to
enforcement of this order.
      IT IS FURTHER ORDERED that the fourteen-day stay imposed by Rule 4001(a)(3) is hereby
waived.




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